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 Attorney or Party Name, Address, Telephone & FAX                       FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Elissa D. Miller
  emiller@sulmeyerlaw.com
 333 South Grand Avenue, Suite 3400
 Los Angeles, California 90071
 Telephone: 213.626.2311
 Facsimile: 213.629.4520




  Movant(s) appearing without attorney
  Chapter 7 Trustee

                                     UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION


 In re:                                                                 CASE NO.: 2:20-bk-21022-BR

 GIRARDI KEESE,                                                         CHAPTER: 7



                                                          Debtor(s)
                                                                              DECLARATION THAT NO PARTY
                                                                            REQUESTED A HEARING ON MOTION

                                                                                             LBR 9013-1(o)(3)


                                                                                             [No Hearing Required]

1. I am the  Movant(s) or  attorney for Movant(s) or  employed by attorney for Movant(s).

2. On: November 11, 2021, Movant(s) filed a motion entitled: CHAPTER 7 TRUSTEE'S APPLICATION TO
   EMPLOY LARRY W. GABRIEL, THE LAW OFFICES OF JENKINS, MULLIGAN AND GABRIEL, LLP IN PLACE
   AND INSTEAD OF RONALD RICHARDS, THE LAW OFFICES OF RONALD RICHARDS & ASSOCIATES,
   A.P.C., AS SPECIAL LITIGATION COUNSEL; DECLARATION AND STATEMENT OF DISINTERESTEDNESS
   OF LARRY W. GABRIEL IN SUPPORT THEREOF [Docket No. 849]

3. A copy of the motion and notice of motion is attached hereto.

4. On November 11, 2021, Movant(s) served a copy of  the notice of motion or  the motion and notice of motion
   on required parties using the method(s) identified on the Proof of Service of the notice of motion.

5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written response
   and request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if
   served by mail, or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).

6. More than      17 days have passed since Movant(s) served the notice of motion.
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 California.

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 7. I checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request for
    hearing was timely filed.

 8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the
    street address, email address, or facsimile number specified in the notice of motion.

 9. Based upon the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required.

Movant(s) requests that the court grant the motion and enter an without a hearing.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


   Date:         December 6, 2021                           /s/Elissa D. Miller
                                                            Signature

                                                            Elissa D. Miller
                                                            Printed name




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                         ATTACHMENT
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     UNDER SEAL [DOCKET NO. 849]


CHAPTER 7 TRUSTEE'S APPLICATION TO EMPLOY LARRY
W. GABRIEL, THE LAW OFFICES OF JENKINS, MULLIGAN
AND GABRIEL, LLP IN PLACE AND INSTEAD OF RONALD
RICHARDS, THE LAW OFFICES OF RONALD RICHARDS &
ASSOCIATES, A.P.C., AS SPECIAL LITIGATION COUNSEL;
DECLARATION AND STATEMENT OF DISINTERESTEDNESS
OF LARRY W. GABRIEL IN SUPPORT THEREOF
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    Los Angeles, California 90071-1406
  3 Telephone: 213.626.2311
    Facsimile: 213.629.4520
  4
    Chapter 7 Trustee
  5

  6

  7

  8                          UNITED STATES BANKRUPTCY COURT

  9             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 10 In re                                           Case No. 2:20-bk-21022-BR

 11 GIRARDI KEESE,                                  Chapter 7

 12                Debtor.                          NOTICE OF CHAPTER 7 TRUSTEE'S
                                                    APPLICATION TO EMPLOY LARRY W.
 13                                                 GABRIEL, THE LAW OFFICES OF
                                                    JENKINS, MULLIGAN AND GABRIEL,
 14                                                 LLP IN PLACE AND INSTEAD OF
                                                    RONALD RICHARDS, THE LAW
 15                                                 OFFICES OF RONALD RICHARDS &
                                                    ASSOCIATES, A.P.C., AS SPECIAL
 16                                                 LITIGATION COUNSEL

 17                                                 [11 U.S.C. §§ 327(c) and (e), 328(a); Fed.
                                                    R. Bankr. P. 2014; Loc. Bankr. R. 2014-
 18                                                 1(b)]

 19                                                 [No Hearing Required]

 20         TO THE HONORABLE BARRY RUSSELL, UNITES STATES BANKRUPTCY
 21 JUDGE AND TO ALL PARTIES IN INTEREST:

 22         PLEASE TAKE NOTICE that Elissa D. Miller, Chapter 7 Trustee (the "Trustee"),
 23 for the estate of the Debtor, Girardi Keese (the "Debtor") has filed an "Application to

 24 Employ Larry W. Gabriel, the Law Offices of Jenkins, Mulligan and Gabriel, LLP in Place

 25 and Instead of Ronald Richards, the Law Offices of Ronald Richards & Associates,

 26 A.P.C., as Special Litigation Counsel, Declaration and Statement of Disinterestedness of

 27 Larry Gabriel in Support Thereof" (the "Application"), pursuant to which the Trustee seeks

 28 an order of this Court authorizing the employment of Larry W. Gabriel, Jenkins, Mulligan
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  1 and Gabriel, LLP ("Gabriel") to act as her special litigation counsel in the above-

  2 captioned bankruptcy case in place and instead of Ronald Richards, Law Offices of

  3 Ronald Richards & Associates, A.P.C. ("Richards") to act as her special litigation

  4 counsel.

  5           PLEASE TAKE FURTHER NOTICE that the Trustee is retaining Gabriel as her

  6 Special Litigation Counsel to assist with the investigation and undertake such

  7 proceedings and/or actions as may be appropriate in connection with investigating and

  8 recovering estate property and filing such proceedings and/or actions as are appropriate

  9 in connection with transfers to Erika Girardi (aka Erica Jayne).

 10           PLEASE TAKE FURTHER NOTICE that the Trustee proposes to retain Gabriel on

 11 the same terms as Richards. More specifically, the Trustee proposes to retain Gabriel on

 12 a contingency basis that was previously established and approved by this court for

 13 Richards' retention: 35% of the net recovery prior to commencement of litigation, 40% of

 14 the net recovery after the complaint is filed through 60 days prior to a jury or bench trial,

 15 and 45% of the net recovery thereafter. “Net recovery” means the amount remaining

 16 after the total amount received (whether by settlement, arbitration award, or court

 17 judgment) has been reduced by the sum of all “costs,” as defined in the Engagement

 18 Agreement. The amount of the fee is not set by law but is negotiable between Gabriel

 19 and the Trustee. Gabriel recognizes that Richards may seek payment for the work he

 20 performed prior to his termination and that any such claim, if approved, will be paid from

 21 the contingency fee, awarded, if any. In other words, the estate will not be increasing its

 22 administrative liability by this change of counsel. Gabriel also shall be entitled to

 23 reimbursement of its out-of-pocket costs incurred during the course of the instant

 24 engagement as approved by the Court, with such costs to be advanced by Gabriel (or by

 25 the estate following appropriate budget order) and paid from the estate.

 26           PLEASE TAKE FURTHER NOTICE that other than the contingency fee and costs

 27 to be paid to Gabriel as set forth herein and in the Engagement Agreement, Gabriel shall

 28 have no claims against the estate.


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  1           PLEASE TAKE FURTHER NOTICE that any party wishing to obtain a copy of the

  2 Application may do so by contacting the Trustee in writing at the address or e-mail on the

  3 upper left-hand corner of this Notice.

  4           PLEASE TAKE FURTHER NOTICE that if you do not oppose the Application, you
  5 need not take any further action. However, any objection and request for hearing, in the

  6 form required by Local Bankruptcy Rule 9013-1(f), must be filed with the Court and

  7 served on the Trustee and the Office of the United States Trustee, located at 915

  8 Wilshire Blvd., Suite 1850, Los Angeles, CA 90017, not later than 14 days, plus three

  9 days for service by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F), after the date of

 10 service of this notice.

 11           PLEASE TAKE FURTHER NOTICE that failure to timely file and serve such

 12 response and request for hearing may result in any response being deemed waived and

 13 the Court entering an order approving the Application without hearing a pursuant to Local

 14 Bankruptcy Rules 2014-1 and 9013-1.

 15 DATED: November 11, 2021                 Respectfully submitted,
 16
                                             By:         /s/ Elissa D. Miller
 17
                                                   Chapter 7 Trustee
 18

 19 Date of Mailing: November 11, 2021

 20

 21

 22

 23

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): NOTICE OF CHAPTER 7 TRUSTEE'S APPLICATION
TO EMPLOY LARRY W. GABRIEL, THE LAW OFFICES OF JENKINS, MULLIGAN AND GABRIEL, LLP IN PLACE
AND INSTEAD OF RONALD RICHARDS, THE LAW OFFICES OF RONALD RICHARDS & ASSOCIATES, A.P.C., AS
SPECIAL LITIGATION COUNSEL will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 11, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

See Attached List

                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) November 11, 2021, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.


See Attached List
                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 November 11, 2021                         Cheryl Caldwell                                      /s/Cheryl Caldwell
 Date                                      Printed Name                                         Signature




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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

         Kyra E Andrassy kandrassy@swelawfirm.com,
          lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
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         Michelle Balady mb@bedfordlg.com, leo@bedfordlg.com
         Ori S Blumenfeld ori@marguliesfaithlaw.com,
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         Craig G Margulies Craig@MarguliesFaithlaw.com,
          Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com
         Ron Maroko ron.maroko@usdoj.gov
         Peter J Mastan peter.mastan@dinsmore.com, SDCMLFiles@dinsmore.com;Katrice.ortiz@dinsmore.com
         Edith R. Matthai ematthai@romalaw.com, lrobie@romalaw.com
         Daniel J McCarthy dmccarthy@hillfarrer.com, spadilla@hillfarrer.com;nchacon@hfbllp.com
         Elissa Miller (TR) CA71@ecfcbis.com,
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         Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
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         David M Reeder david@reederlaw.com, secretary@reederlaw.com
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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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         Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com
         Kevin C Ronk Kevin@portilloronk.com, Attorneys@portilloronk.com
         Frank X Ruggier frank@ruggierlaw.com, enotice@pricelawgroup.com
         William F Savino wsavino@woodsoviatt.com, lherald@woodsoviatt.com
         Kenneth John Shaffer johnshaffer@quinnemanuel.com
         Richard M Steingard , awong@steingardlaw.com
         Philip E Strok pstrok@swelawfirm.com,
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         Boris Treyzon bt@treyzon.com, sgonzales@actslaw.com
         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
         Eric D Winston ericwinston@quinnemanuel.com
         Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com
         Timothy J Yoo tjy@lnbyb.com


2. SERVED BY UNITED STATES MAIL:


 Debtor
 Girardi Keese
 1126 Wilshire Blvd
 Los Angeles, CA 90017-1904


 All Creditors

 American Express Travel Related
 Services Com                                        Amy Fisch Solomon                                   Atkinson-Baker, Inc.
 c/o Zwicker and Associates, P.C.                    P.O. Box 1958                                       500 N. Brand Blvd. 3rd Floor
 P.O. 9043                                           Santa Ynez, CA 93460-1958                           Glendale CA 91203-1945
 Andover, MA 01810-0943


 Baker, Keener & Nahra, LLP
                                                     Brandon Stokes                                      Brian Garrett
 633 West Fifth Street
                                                     4638 Woodlands Village Drive                        15 S. Rolling Hills Ave
 Suite 5500
                                                     Orlando, FL 32835-2719                              Irwin, PA 15642-3220
 Los Angeles, CA 90071-2014


                                                                                                         Christina Fulton
 CT3Media, Inc. Chet Thompson                        Christian Petty
                                                                                                         1875 Century Park East
 26080 Shadow Rock Ln                                6607 5th Avenue
                                                                                                         Suite 2230
 Valencia, CA 91381-0630                             Rio Linda, CA 95673-3409
                                                                                                         Los Angeles, CA 90067-2522

 Cigna Health and Life Insurance
 Company                                                                                                 DJK Counsel, Ltd.
                                                     Cody Thompson
 Marylou Rice                                                                                            c/o Daniel J. Katz
                                                     12040 Driftstone Drive
 Legal Compliance Lead Analyst                                                                           1925 Century Park E, #810
                                                     Fishers, IN 46037-8405
 900 Cottage Grove Road, B6LPA                                                                           Los Angeles, CA 90067-2709
 Hartford CT 06152-0001


 DK Global, Inc.                                     Dalton & Associates                                 Daymond Walton
 420 Missouri Ct                                     1106 West Tenth Street                              11 Walton Herndon Drive
 Redlands, CA 92373-3128                             Wilmington, DE 19806-4522                           Meherrin, VA 23954-2836


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                                                     Dominic Lombardo                                    Eric Bryan Seuthe
 Devin Lynn Scott
                                                     115 E. Pomona Boulevard                             10990 Wilshire Blvd.
 512 Braginton St Lot 2
                                                     Suite A                                             Suite 1420
 Clearwater, FL 33756-1565
                                                     Monterey Park, CA 91755-7210                        Los Angeles, CA 90024-3931


                                                     Esquire Deposition Solutions, LLC.
 Eric Lindvall, DO                                                                                       Express Network LLC
                                                     2700 Centennial Tower
 604 N Magnolia Ave Suite 100                                                                            1605 W Olympic Blvd #800
                                                     101 Marietta St
 Clovis, CA 93611-9205                                                                                   Los Angeles CA 90015-4685
                                                     Atlanta, GA 30303



 Fay Pugh                                            Gayle C. Kurosu                                     Golkow Litigation Services, LLC
 1163 Daniels Drive                                  1116 West 187th Street                              1650 Market Street, Suite 5150
 Los Angeles, CA 90035-1101                          Gardena, CA 90248-4123                              Philadelphia, PA 19103-7249



 Hakeem Daul Shacquil                                Henry Andrew
                                                                                                         JAMS, INC.
 Danley (hobson)                                     Perez Betancur
                                                                                                         18881 Von Karman Ave., Suite 350
 901 Tucker Street                                   4887 Via Palm Lakes #506
                                                                                                         IRVINE, CA 92612-6589
 Williamsport, PA 17701-3627                         West Palm Beach, FL 33417-2728


 JOSEFINA CASTILLO-                                                                                      Jeffrey M. Schwartz
                                                     Jared W. Baptista
 HERNANDEZ                                                                                               Much Shelist
                                                     30 Lakeview Drive
 27604 Firebrand Dr                                                                                      191 N. Wacker Drive, Suite 1800
                                                     Narragansett, RI 02882-1617
 Castaic, CA 91384-3583                                                                                  Chicago, IL 60606-1631


 Jehoshaphat Shambee
 Linda Shambee on behalf of                          John Edward Tillson IV                              Johnson Controls Security Solutions
 Jehosphat Sha                                       W179S6562 Hardtke Drive                             10405 Crosspoint Blvd
 721 Karey Drive                                     Muskego, WI 53150-9694                              Indianapolis, IN 46256-3323
 Temple TX 76502-8730


 Jordan DeWanz- Titus
                                                     Joshua Remnant                                      Judy Selberg
 488 Snelling Ave S
                                                     535 Watervliet Ave                                  10990 Wilshire Blvd., Suite 1420
 #112
                                                     Dayton, OH 45420-2542                               Los Angeles, CA 90024-3931
 Saint Paul, MN 55116-1555


                                                     Kathleen L. Bajgrowicz
 KABC-AM Radio, Inc.
                                                     Manuel H. Miller, Esq.                              Kimberly Anne Coleman
 c/o CRF Solutions
                                                     Law Offices of Manuel H. Miller                     416 Vista Roma
 PO Box 1389
                                                     20750 Ventura Boulevard, Suite 440                  Newport Beach CA 92660-3513
 Simi Valley, CA 93062-1389
                                                     Woodland Hills, CA 91364-6643

                                                     Law Offices of Philip R. Sheldon,
                                                                                                         Manuel H. Miller
 L. Everett & Associates, LLC                        APC
                                                                                                         20750 Ventura Boulevard
 3700 State Street, Suite 350                        c/o Spertus, Landes, & Umhofer, LLP
                                                                                                         Suite 440
 Santa Barbara, CA 93105-3100                        1990 S. Bundy Dr., Suite 705
                                                                                                         Woodland Hills, CA 91364-6643
                                                     Los Angeles, CA 90025-5256


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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
    Case 2:20-bk-21022-BR                   Doc 907 Filed 12/07/21 Entered 12/07/21 12:03:09                                    Desc
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                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
333 South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled: DECLARATION THAT NO PARTY REQUESTED A
HEARING ON MOTION [LBR 9013-1(o)(3)] will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) December 7, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:

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                                                                              Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date)                 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                              Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                     , I served the following persons and/or entities by personal delivery, overnight mail service, or
(for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.

                                                                              Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 7, 2021                        Cheryl Caldwell                                    /s/Cheryl Caldwell
 Date                                    Printed Name                                       Signature

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California.

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